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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


  SHAHRIAR JABBARI, et al.,                          Case No. 15-cv-02159-VC
                 Plaintiffs,
                                                     ORDER REGARDING TURKIA
          v.                                         LETTER
  WELLS FARGO & CO., et al.,                         Re: Dkt. No. 378
                 Defendants.



       The request to relate 17-cr-0142-1 is denied. Turkia is advised that any motion

challenging the constitutionality of a conviction or sentence should be filed in the court of

conviction.

       IT IS SO ORDERED.

Dated: August 17, 2020
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
